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I-IOLS'I‘ 8c BO]ET'.I‘CI~IER, LLP
ATToRNEYs AT LAW

BRMN j HDLST nose oi=i=ice Box 293
oEvENes a aoar'rcaea' 5"‘ K'MB"‘R“ STREET canal 712-esaa
MF.LtssA cAMe'RON |_DNGMON”T`.\ COLORADO 80502»0298 FAJ< least ??2»2522

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'Atso Lioennud in Arlmno. Mti:hlgnn, Nobruska a. Wyomtng
"`Nac) L|cen\;od tn Nizonn

Michael l_ane Greeson May l 20t'7
5357 Ukraine Way
Aurota, CO 800 § 5

 

Clu'istina l_.ouise Greeson
5357 Uktaine Way
Aurota, CO 8002 5

Re: Bank:uptey Case No : l2~25470»l-IRT
Notice of Det’ault .ZOii Clievroiet Camaro SS

Deat Mr. and l\/irs. Gi‘eeson,

This letter shall constitute a Notice of Dei`auit to you with respect to the Stipulation f`or
Resoiution ofMotion t`oi' Relief" from Stay (“Stipuiation"") filed with and made an Order of the
Cour't on Apzil 21, 2017 (Docket No. 69) in your above reference bankruptcy Under the terms
and provisions of the Stipulation, in addition to other obligations you were to make a payment of
33996.25 on or before April 30, .?.OI'J'.

Putsuant to our client‘s recot‘ds, you nave i'"aiiecl to fully pay your Aprii payment in
accotdanee with the telms of`the Stipulationi Specii`ioally, you only paid $480.\00 ou April 27,
2017.. Should you fail to cure this payment, which has become due, by the date set l"ottlt below,
we shail ask the Court to enter an Otder t`or' Reiiet: front Autornatic Stay pursuant to the
Stipulation and pi'oceed to exercise Credit Union of Denvet’s contractual and statutory remedies
outside of the bankruptcy proceedings

A tota¥ amount of $51 6.25 must be paid, payabie to the Credit Union ofDenver, and
delivered to: Attention Collections Department: 9305 W. Alameda Avenue, Lakewood,
Colorado 80226 no later than May 12, 2017. Failure to do so will result in termination of
the Automatie Stay,

l will also note that pursuant to the Stipulation, you have a payment due on or befo\e l`\/lay
l?_, 20l 7 in the amount of $996 25. It` you fail to timely and P`uliy pay this payment the Credit

Union will not send another notice oi`det`auit and Will seek a termination of the Automatic Stay

Piease contact your bankruptcy attorney if you have any questions

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Holsl & Boet;tcl'ier, LLP

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lman Teiu‘a_ni

Cc: Client'
Debtor’s Counsei Micliael Suelioparek
M Saeltoparek@Wesucho.eom

